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                            IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

   KATE GRANT and KARMANN KASTEN,
   LLC,                                                PLAINTIFFS’ RULE 7.1 DISCLOSURE
                                          Plaintiff,
                                                          Civil No. 2:23-cv-00936-AMA-CMR
   vs.
   KEVIN LONG; MILLCREEK                                  District Judge Ann Marie McIff Allen
   COMMERCIAL PROPERTIES, LLC;
   COLLIERS INTERNATIONAL; BRENT                           Magistrate Judge Cecilia M. Romero
   SMITH; SPENCER TAYLOR; BLAKE
   MCDOUGAL; and MARY STREET,
                                        Defendants.


         Plaintiffs hereby make their disclosure under Fed. R. Civ. P. 7.1.

         Karmann Kasten, LLC, has no parent entity and is not a publicly held entity.

         Jurisdiction in this case is not founded upon diversity of citizenship.

         DATED this 19th day of February, 2025.

                                        CHRISTIANSEN LAW, PLLC


                                        By:           /s/ Stephen K. Christiansen
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